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                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                                            WAYCROSS DIVISION




              BENJAMIN LESHAWN COOPER,

                                  Petitioner,                        CIVIL ACTION NO.: CV509-038

                           V.


              UNITED STATES OF AMERICA,                              (Case No.: CR592-029)

                                  Respondent.



                                                     ORDER



                    Presently before the Court are Benjamin LeShawn Cooper's (Cooper) Objections

              to the Magistrate Judge's Report and Recommendation. In his Objections, Cooper

              asserts that 28 U.S.C. 2244(b)(3)(A) does not apply to his successive 28 U.S.C. § 2255

              motion. Cooper cites Stewart v. Martinez-Villareal, 523 U.S. 637 (1998), as standing for

              this proposition. However, in Stewart, the petitioner's claim was determined to not be

              "second or successive" because "[t]here wJoniy one application for habeas relief, and

              the District Court ruled (or should have ruled) on each claim at the time it became ripe."

              Id. at 643. Cooper has filed successive claims in this instance and has failed to obtain

              permission from the Eleventh Circuit Court of Appeals to file this successive § 2255

              motion. Therefore, the Report properly stated that this Court lacks jurisdiction to

              consider Cooper's motion.




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                     Cooper's Objections are without merit and are overruled. The Report and

              Recommendation of the Magistrate Judge is adopted as the opinion of the Court.

              Cooper's petition for writ of habeas corpus, filed pursuant to 28 U.S.C. § 2255, is
              DISMISSED. The Clerk of Court is directed to enter the appropriate judgment of

              dismissal.

                     SO ORDERED, this 274ay of                                          , 2010.




                                                    HONQRABL-E J.RANDAL HALL
                                                    UNIT1ED STATES DISTRICT JUDGE




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